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   9
  10                      UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRx
     INC., a California Corporation,
  14                                              [PROPOSED] ORDER GRANTING
                  Plaintiff,                      DEFENDANT AND
  15                                              COUNTERCLAIM PLAINTIFF
           v.                                     INTERFOCUS, INC. D.B.A.
  16                                              WWW.PATPAT.COM’S
     INTERFOCUS, INC. d.b.a.                      APPLICATION TO FILE UNDER
  17 www.patpat.com, a Delaware                   SEAL PREVIOUSLY ENTERED
     Corporation; CAN WANG, and                   INTO SETTLEMENT
  18 individual, and DOES 1-10, inclusive.,       AGREEMENT
  19              Defendants.                     Date: August 16, 2021
                                                  Time: 10:00 am
  20                                              Courtroom: Courtroom 8D
     INTERFOCUS, INC. d.b.a.
  21 www.patpat.com, a Delaware                   The Hon. Christina A. Snyder
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23              Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
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                                              1
       [PROPOSED] ORDER GRANTING APPLICATION TO FILE UNDER SEAL PREVIOUSLY ENTERED INTO
                                   SETTLEMENT AGREEMENT
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   1        Good cause appearing, it is ordered that the unredacted settlement agreement
   2 designated Exhibit 3 is ordered to be filed under seal and defendant shall proceed to
   3 file Exhibit 3 under seal forthwith.
   4        IT IS SO ORDERED.
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   6 Dated: July 14, 2021
                                                   The Honorable Christine A.Snyder
   7                                               United States District Judge
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        [PROPOSED] ORDER GRANTING APPLICATION TO FILE UNDER SEAL PREVIOUSLY ENTERED INTO
                                    SETTLEMENT AGREEMENT
